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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  CORNERSTONE CREDIT UNION
  LEAGUE AND CONSUMER DATA
  INDUSTRY ASSOCIATION,

            Plaintiffs,

  v.                                                  No. 4:25-cv-00016-SDJ

  CONSUMER FINANCIAL PROTECTION
  BUREAU and ROHIT CHOPRA in his
  official capacity as Director of the CFPB,

           Defendants.



                          [PROPOSED] ORDER DENYING
               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

        Before the Court is Plaintiffs’ Motion for a Preliminary Injunction, ECF No. 9. The

 Court, having considered the pleadings on file and the arguments of counsel, concludes:

        1. Plaintiffs have not demonstrated a likelihood of success on the merits of their claims

            that the regulation promulgated by the Consumer Financial Protection Bureau,

            Prohibition on Creditors and Consumer Reporting Agencies Concerning Medical

            Information (Regulation V) (Rule), 90 Fed. Reg. 3276 (Jan. 14, 2025), exceeds the

            Bureau’s statutory authority;

        2. Plaintiffs have not demonstrated that they are likely to suffer irreparable injury if the

            injunction is not granted; and

        3. The balance of equities and the public interest weigh against enjoining the Rule.
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       It is therefore ORDERED that Plaintiffs’ Motion for a Preliminary Injunction is

 DENIED.




 Dated: ____________                               _________________________
                                                   SEAN D. JORDAN
                                                   UNITED STATES DISTRICT JUDGE
